Case 2:04-cr-20323-.]PI\/| Document 43 Filed 04/27/05 Page 1 of 2 Page|D 65

:N THE UNITED sTATES DISTRICT cOURT 91
FOR THE wESTERN DISTRICT oF TENNESSEE

wEsTERN DIVISION 95; il 31
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UNITED STATES OF AMERICA, \ND.OETN mBWHMS

Plaintiff,
Cr. NO. 04-20323-Ml
vS.

NANCY WILLIAMS,

>ex->c->¢->ex->e>+>+

Defendant.

 

ORDER DISMISSING INDICTMENT

 

Upon motion Of the United States, it is hereby ORDERED that
the indictment in Criminal CaSe No. 04-20323 is dismissed.

ENTERED this Zif day of April, 2005.

Mm@@Ql
JON P. MCCALLA
U . District Court Judge

 

Approved:

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V. Pae Oliver
Assistant United StateS Attorney

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UNITED sTATE DISTRIC COURT - WETERN D's'TRCT oFTENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

